Case 22-18303-JKS          Doc 142      Filed 08/25/23 Entered 08/25/23 12:51:44                   Desc Main
                                       Document      Page 1 of 2



UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
ANDREW R. VARA
UNITED STATES TRUSTEE, REGIONS 3 AND 9
Peter J. D’Auria, Esq. (PD 3709)
One Newark Center, Suite 2100
Newark, NJ 07102
Telephone: (973) 645-3014
Fax: (973) 645-5993
E-Mail: Peter.J.D’Auria@usdoj.gov

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
____________________________________
                                        :
In re:                                  :   Chapter 11
                                        :
Alexandre Dacosta and                   :   Case No. 22-18303(JKS)
Viviane Antunes, et al.1,               :   (Jointly Administered)
                                        :
Debtors.                                :   Hearing Date: Sept. 26, 2023 at 10:00 AM
___________________________________ :
                                            ORAL ARGUMENT REQUESTED

     NOTICE OF MOTION OF THE UNITED STATES TRUSTEE FOR AN ORDER
     CONVERTING THE CASE OF BAV AUTO, LLC TO CHAPTER 7 OR, IN THE
      ALTERNATIVE, DISMISSING THE CASE PURSUANT 11 U.S.C. § 1112(b)

TO: ALL PERSONS ON ATTACHED CERTIFICATE OF SERVICE

        PLEASE TAKE NOTICE that the United States Trustee will move before the

Honorable John K. Sherwood on September 26, 2023 at 10:00 a.m., or as soon thereafter as

counsel may be heard, at the United States Bankruptcy Court, District of New Jersey, 50 Walnut

Street, Newark, New Jersey 07102, for an Order Converting the Case of BAV Auto, LLC to

Chapter 7 or, in the alternative, Dismissing the Case Pursuant to 11 U.S.C. §1112 (b) and for

such other and further relief as this Court deems just and appropriate.



1
 The jointly administered Debtors are Alexandre Dacosta and Vivianne Antunes, having SSNs with the last four
digits of 2325 and 0411, respectively, and BAV Auto, L.L.C., having a TIN with the last four digits 7479.
Case 22-18303-JKS       Doc 142    Filed 08/25/23 Entered 08/25/23 12:51:44            Desc Main
                                  Document      Page 2 of 2



       PLEASE TAKE FURTHER NOTICE that any papers in opposition to the Motion

must be filed with the Court and served upon the United States Trustee no later than seven days

in advance of the hearing date pursuant to District of New Jersey Local Bankruptcy Rule 9013-

2(a)(2). If opposing papers are not filed and served within the required time, the Motion will be

decided on the papers pursuant to District of New Jersey Local Bankruptcy Rule 9013-3(d), and

an Order either (i) Converting the Chapter 11 Case of BAV Auto, LLC to a Chapter 7 Case, or

(ii) Dismissing the Chapter 11 Case of BAV Auto, LLC, may be signed and entered in the

Court's discretion.


                                             ANDREW R. VARA
                                             UNITED STATES TRUSTEE
                                             REGIONS 3 AND 9


                                             /s/ Peter J. D’Auria
                                             Peter J. D’Auria
                                             Trial Attorney

DATED: August 25, 2023
